Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 1 of 8 Pageid#: 7983




                    EXHIBIT C
                              Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 2 of 8 Pageid#: 7984




From:                                    Ken Kim <kkim@idsinc.com>
Sent:                                    Monday, December 16, 2019 2:25 PM
To:                                      Eli Mosley; Michael Bloch
Cc:                                      iDS_SINKS-02678; Yotam Barkai
Subject:                                 RE: Sines v Kessler Kline Discovery


Mr. Kline:

We have received your password for eli.r.kline@gmail.com email account for collection purposes, thank you.

However, we cannot proceed with any of the collections for your three email accounts (deplorabletruth@gmail.com; eli.f.mosley@gmail.com;
eli.r.kline@gmail.com) without your assistance to bypass the 2-factor authentication security set up for these Gmail accounts.

Can you please respond back with date/time that works for you to connect with our forensic team to address the 2-factor authentication?

Thanks,
Ken


Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




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https://www.chambersandpartners.com/12788/2817/editorial/58/1#22770855 editorial


From: Ken Kim
Sent: Thursday, December 12, 2019 11:39 AM
To: 'Eli Mosley' <deplorabletruth@gmail.com>; 'Michael Bloch' <mbloch@kaplanhecker.com>
Cc: iDS_SINKS-02678 <ids_sinks-02678@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery
                              Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 3 of 8 Pageid#: 7985


Mr. Kline:

Reaching out to you again for the password to access your eli.r.kline@gmail.com email account for collection purposes – please let us know.

Also, can you please confirm that you are in receipt of your mobile device we shipped out on Tuesday (Fedex tracking is showing it was delivered yesterday)?

And, finally, Bobby Williams reached out to you yesterday about setting up a date/time to address 2-factor authentication for your deplorabletruth@gmail.com
and eli.f.mosley@gmail.com email accounts to access for collection purposes – can you please respond back to him with date/time that works for you?

Thanks,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




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From: Ken Kim
Sent: Wednesday, December 4, 2019 1:30 PM
To: 'Eli Mosley' <deplorabletruth@gmail.com>; 'Michael Bloch' <mbloch@kaplanhecker.com>
Cc: iDS_SINKS-02678 <ids sinks-02678@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery

Mr. Kline:

Could you please provide us with password to access your eli.r.kline@gmail.com email account for collection purposes?

Thanks,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
                              Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 4 of 8 Pageid#: 7986

Mobile: 267.847.4876




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From: Ken Kim
Sent: Wednesday, December 4, 2019 1:19 PM
To: Eli Mosley <deplorabletruth@gmail.com>; Michael Bloch <mbloch@kaplanhecker.com>
Cc: iDS_SINKS-02678 <ids sinks-02678@idsinc.com>
Subject: RE: Sines v Kessler Kline Discovery

Mr. Kline:

Thank you for the below information. We will reach out should we need any other information or encounter any issues. We will be returning your one device
soon - can you please provide shipping information for delivery (along with telephone number, as this is required for Fedex deliveries).

Please let us know if you have any questions.

Regards,
Ken

Kenneth Kim
Consultant, Discovery Services
iDiscovery Solutions
Mobile: 267.847.4876




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From: Eli Mosley <deplorabletruth@gmail.com>
Sent: Wednesday, December 4, 2019 1:10 PM
To: Ken Kim <kkim@idsinc.com>; Michael Bloch <mbloch@kaplanhecker.com>
Subject: Re: Sines v Kessler Kline Discovery
Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 5 of 8 Pageid#: 7987
                               Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 6 of 8 Pageid#: 7988



Thanks,

Ken



Kenneth Kim

Consultant, Discovery Services

iDiscovery Solutions

Mobile: 267.847.4876




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From: Ken Kim
Sent: Monday, December 2, 2019 4:07 PM
To: eli.f.mosley@gmail.com; deplorabletruth@gmail.com
Cc: iDS_SINKS-02678 <ids sinks-02678@idsinc.com>
Subject: Sines v Kessler Kline Discovery



Mr. Kline:
Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 7 of 8 Pageid#: 7989
                               Case 3:17-cv-00072-NKM-JCH Document 628 Filed 01/07/20 Page 8 of 8 Pageid#: 7990

Kenneth Kim

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